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         ORDERED in the Southern District of Florida on December 17, 2024.




                                                                 Erik P. Kimball
                                                                 Chief United States Bankruptcy Judge
_____________________________________________________________________________
                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION
                                       www.flsb.uscourts.gov

         IN RE:                                                                  CASE NO.: 24-22288 EPK
         MISS AMERICA COMPETITION, LLC                                           CHAPTER 11

                 Debtor.
                                                            /

          AGREED ORDER GRANTING DEBTOR IN POSSESSION’S EXPEDITED MOTION
             TO DISMISS AND CANCELLING HEARINGS ON DECEMBER 18, 2024,
                             AND JANUARY 29 TO 30, 2025

                 THIS MATTER comes before the Court upon the Debtor in Possession’s Emergency

         Motion to Dismiss Case [ECF No. 30] (the “Motion to Dismiss”), and any responses thereto. The

         relief requested in the Motion being in the best interest of the Debtor, any creditors, and all parties-

         in-interest, proper and adequate notice of the Motion having been given and no other or further

         notice being necessary, and the movant by submitting this form of order having represented that

         the Motion was served on all parties required by Bankruptcy Rule 2002 or Local Rule 2002-1(H),

         (I) or (J), upon review of the record before the Court, and having been advised that Ms. Fleming,

         who previously filed a motion to dismiss this case [ECF No. 9], agrees to the relief set forth herein,



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and having been advised that the Office of the U.S. Trustee agrees to the relief set forth herein,

and having considered the applicable standards, and otherwise finding good and sufficient cause

exists to grant the relief requested, the Court

       ORDERS as follows:

       1.      The Motion to Dismiss [ECF No. 30] is GRANTED.

       2.      This bankruptcy case is dismissed effective as of the date of this Order.

       3.      Glenn Straub, on behalf of the Debtor shall pay any outstanding U.S. Trustee fees

within ten (10) days of the date of this Order.

       4.      The dismissal is with prejudice to Glenn Straub filing or causing the filing of a

bankruptcy petition, or seeking to commence any insolvency proceeding, with respect to the

Debtor for a period of 180 days.

       5.      The parties will bear their own attorney’s fees and costs in this bankruptcy case;

however, the dismissal is without prejudice to the parties seeking and being awarded damages

associated with this bankurptcy case, including attorney’s fees and costs, in another forum.

       6.      The Court retains jurisdiction to enforce the terms of this Order.

       7.      The hearings scheduled for December 18, 2024, and on January 29 to 30, 2025 are

hereby canceled.

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Submitted by:
Craig I. Kelley, Esquire
Kelley Kaplan & Eller, PLLC
1665 Palm Beach Lakes Blvd, Suite 1000
West Palm Beach, FL 33401
Tel. No. (561) 491-1200
Fax No. (561) 684-3773
E-mail: bankruptcy@kelleylawoffice.com




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Copies furnished to:
CRAIG I. KELLEY, ESQ., is directed to serve copies of this order on all interested parties and file
a Certificate of Service.




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